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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

CITI PROPERTY HOLDINGS, INC.                                        CIVIL ACTION


VERSUS                                                              NO: 11-617


JAMIE P. LABRANCHE and KIM                                          SECTION: S(1)
MARTIN LABRANCHE

                                    ORDER AND REASONS

       In this foreclosure case, plaintiff Citi Property Holdings, Inc. moves to remand the matter

to the 40th Judicial District Court for the Parish of St. John the Baptist, State of Louisiana. Because

defendants did not timely file a notice of removal,

       IT IS HEREBY ORDERED that Plaintiff’s Motion to Remand (Doc. #10) is GRANTED,

and the matter is REMANDED to the 40th Judicial District Court for the Parish of St. John the

Baptist, State of Louisiana.

       IT IS FURTHER ORDERED that plaintiff’s incorporated motion for attorneys’ fees and

costs is DENIED.

                                         BACKGROUND

       On October 5, 2007, Citi Property Holdings filed a petition in the 40th Judicial District Court

for the Parish of St. John the Baptist, State of Louisiana to foreclose on property owned by

defendants Jamie P. LaBranche and Kim Martin LaBranche. On March 4, 2009, the Sheriff of St.

John the Baptist Parish executed and served defendants with a writ of seizure and sale. On October

13, 2010, Citi Property Holdings filed a supplemental and amending petition in which it stated that
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it had applied certain payments and credits to defendants’ account. Defendants were served with

the supplemental and amending petition on October 18, 2010.

       Defendant Jamie LaBranche filed a notice of removal in this Court on March 21, 2011. Citi

Property Holdings now moves to remand this matter to the state court.

                                             ANALYSIS

A.      Removal Procedure

       A defendant may remove a civil action filed in state court if a federal court would have had

original jurisdiction over the suit. See 28 U.S.C. § 1441(a). To remove a case from state court to

federal court, a defendant must file a notice of removal. See id. at § 1446(a). The notice must be

filed within thirty days of service on the defendant. Id. at § 1446(b). If the plaintiff’s initial

complaint is not removable, the defendant may file a notice of removal within thirty days of being

served with an amended complaint or other document from which it may first be ascertained that

the case is removable. Id.

       In this case, Citi Property Holdings filed the initial petition on October 5, 2007, and the

sheriff executed and served the writ of seizure and sale on March 4, 2009. On October 13, 2010,

Citi Property Holdings filed an amended petition, which was served on defendants on October 18,

2010. Defendants then filed a notice of removal on March 21, 2011. Because defendants did not

file the notice of removal within thirty days of receiving service of the amended petition, their notice

of removal is untimely under 28 U.S.C. § 1446, and remand is appropriate.




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C.     Attorneys’ Fees and costs

       Citi Property Holdings requests costs and attorneys’ fees under 28 U.S.C. § 1447(c), which

provides that a remand order “may require payment of just costs and any actual expenses, including

attorney fees, incurred as a result of the removal.” The statute does not contain a presumption either

in favor of or against awarding fees, and whether to award fees under the statute is committed to the

Court’s discretion. Admiral Ins. Co. v. Abshire, 574 F.3d 267, 280 (5th Cir. 2009). The Supreme

Court has held that the standard for awarding fees under this provision “should turn on the

reasonableness of the removal.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005).

“Absent unusual circumstances, courts may award attorney’s fees under § 1447(c) only where the

removing party lacked an objectively reasonable basis for seeking removal.” Id.

       Defendants removed this matter asserting a defense under federal Truth in Lending Act.

Federal court jurisdiction is not established by a defense that raises a federal question, Merrell Dow

Pharm., Inc. v. Thompson, 478 U.S. 804, 808 (1986), nor by a federal counterclaim, Holmes Group,

Inc. v. Vornado Air Circulation Systems, Inc., 535 U.S. 826, 830-31 (2002). However, because the

defendants are proceeding pro se, the court will not impose attorneys fees and costs associated with

the removal. See Boutrup v. Washburn, No. CIV–S–09–2678 GGH, 2009 WL 4573299, at *2 (E.D.

Cal. Nov. 24, 2009) (denying request for fees under § 1447(c) when pro se defendants incorrectly

believed that a federal defense conferred federal jurisdiction; noting that defendants’ pro se status

“warrants some consideration”); Bleiberg v. Altvater, No. 01 Civ. 11507, 2002 WL 1339097, at *2

(S.D.N.Y. June 19, 2002) (denying fee request under § 1447(c) “although perhaps only in light of

the defendant’s pro se status”); compare Insurance Co. of State of Pa. v. Waterfield, 371 F.Supp.2d


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146, 151 (D. Conn. 2005) (granting fee request under § 1447(c) against pro se defendant who

engaged in a “pattern” of “dilatory tactics”). Therefore, the Court denies Citi Property Holdings’

request for costs and attorneys’ fees.

                                         CONCLUSION

       IT IS HEREBY ORDERED that Plaintiff’s Motion to Remand (Doc. #10) is GRANTED,

and the matter is REMANDED to the 40th Judicial District Court for the Parish of St. John the

Baptist, State of Louisiana.

       IT IS FURTHER ORDERD that plaintiff’s incorporated motion for attorneys’ fees and

costs is DENIED.



                      New Orleans, Louisiana, this 20th
                                                   ____ day of May, 2011.



                               _________________________________
                                   MARY ANN VIAL LEMMON
                               UNITED STATES DISTRICT JUDGE




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